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                        Exhibit B
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


  LONE STAR TECHNOLOGICAL
  INNOVATIONS, LLC,                                      Civil Action No. 6:19-CV-00059-RWS
       Plaintiff,                                        LEAD CASE
       v.
  ASUSTEK COMPUTER INC.,                                 JURY TRIAL DEMANDED
       Defendant.




            PLAINTIFF’S DEPOSITION DESIGNATIONS OF TRIAL WITNESSES

        Pursuant to the Court’s Second Amended Docket Control Order (Dkt. 140), Plaintiff Lone

 Star Technological Innovations, LLC (“Lone Star”) respectfully intends to use the following

 witness deposition testimony/video, at trial:

                    WITNESS                              DEPOSITION
                                                        DESIGNATIONS
                    Mr. Jaime Morquecho          7:5-8:4; :23-9:11; 12:5-20, 12:24-
                    (Dec. 1, 2020)                13:4; 13:7-8; 17:25-9; 19:14-20;
                                                  23:12-24:5; 24:12-16; 29:16-21;
                                                 29:25-30:2; 30:9-23; 32:1-33:15;
                                                 39:9-16; 40:18-41:3; 52:20-54:9;
                                                    56:5-14; 57:2-58:8; 59:1-14.




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                James Lee (Dec. 1, 2020)        10:19-22; 14:1-2; 14:7-25; 15:4-7;
                                                 15:12-15; 16:8-18; 16:22; 17:14-
                                                23; 18:9-23 19:1-4; 20:1-22; 22:2-
                                                   13; 22:17-23:19; 23:23-25:8;
                                                 25:14-27:2; 27:16-20; 28:12-18;
                                                29:15-30:5; 30:19-21; 37:16-38:1;
                                                 38:5-7; 47:22-48:6; 52:25-53:7;
                                                     53:15-54:6; 54:21-54:24




        Lone Star reserves the right to supplement its deposition designations including, counter-

 designations. Lone Star further reserves the right to use impeachment testimony at trial in

 accordance with the rules.




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